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                         Exhibit K
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October 6, 2021

Janet Woodcock, MD
Acting Commissioner
U.S. Food and Drug Administration
10903 New Hampshire Ave
Silver Spring, MD 20993-0002

Re: U.S. Food and Drug Administration’s review of the risk evaluation and mitigation strategy for
mifepristone

Dear Acting Commissioner Woodcock:

On behalf of the American College of Obstetricians and Gynecologists (ACOG), representing more than
60,000 physicians and partners dedicated to advancing women’s health, we write to express our strong
support for the review of the risk evaluation and mitigation strategy (REMS) for mifepristone currently
underway at the U.S. Food and Drug Administration (FDA). ACOG supports efforts to improve access to
quality women’s health care and, given the decades of research and data reinforcing the safety of this
medication, urges the FDA to remove the REMS and Elements to Assure Safe Use (ETASU)
requirements for mifepristone.

Mifepristone has been used by over 3 million women in the United States since FDA approval in 2000
and robust evidence exists regarding the safety of mifepristone for medication-induced abortion. 1,2,3,4*
The REMS and ETASU requirements for mifepristone are inconsistent with those for other medications
with similar safety profiles, and create barriers to access without demonstrated improvements to patient
safety or outcomes. These medically unnecessary requirements restricting access to mifepristone interfere
with the ability of obstetrician–gynecologists and other health care professionals to deliver the highest
quality care for their patients. In addition to being supported by researchers, clinicians, and more than
twenty years of data, removing the REMS and ETASU requirements for mifepristone is consistent with
FDA’s mission to ensure the safety and efficacy of medications and help “…the public get the accurate
and science-based information they need to use medical products…” 5

ACOG is the premier professional membership organization for obstetrician-gynecologists and produces
practice guidelines for women’s health clinicians based on the best available science and evidence. As
referenced in ACOG Practice Bulletin 225, Medication Abortion Up to 70 Days of Gestation, medication
abortion is a safe and effective method of providing abortion. The REMS restrictions for mifepristone do
not make care safer, are not based on medical evidence or need, and create barriers to patient access to
medication abortion. 6, 7, 8 Abortion is an essential component of comprehensive health care and is a time-
sensitive service for which a delay of several weeks, or in some cases days, may increase the risks or

*
 Recent evidence also supports the use of mifepristone to improve the safe and effective medical management of
early pregnancy loss.
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potentially make it completely inaccessible. 9 Furthermore, research conducted during the COVID-19
pandemic, when enforcement of the in-person dispensing requirement for mifepristone was suspended,
demonstrates the safety of providing abortion through telehealth contact and mailed medications. 10,11
Additionally, recent data suggests that patients offered telemedicine with mailed medications had
abortions earlier than those without this option. 12 Removing the REMS and ETASU on mifepristone will
improve access to medication-induced abortion and enhance patient care.

ACOG is pleased that the FDA is conducting a thorough review of the REMS restrictions for
mifepristone and urges the FDA to remove the medically unnecessary REMS and ETASU restrictions
that hinder access to medication abortion. Thank you for your attention to this critical issue. We are
available to answer any questions.

Sincerely,



Maureen G. Phipps, MD, MPH, FACOG
Chief Executive Officer
American College of Obstetricians and Gynecologists




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